                                 UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                      ASHEVILLE DIVISION
                                DOCKET NO. 1:16-cr-00039-MOC-DLH

    UNITED STATES OF AMERICA,                            )
                                                         )
                                                         )
                                                         )
    v.                                                   )                           ORDER
                                                         )
    DANIELLE DEVONNA JONES                               )
    DANNY TERRON RONEY                                   )
    OLIVETTE POSTEL SAMUELS JR.,

                      Defendants.                        )



            THIS MATTER is before the court on defendant Jones’ pro se Motion to Dismiss Count

Three as well as to Dismiss Count One or Count Two of the Superseding Indictment (#98).

Defendant Jones faces three counts,1 which largely stem from the same set of events. Count One

alleges that defendant Jones conspired with her co-defendants to commit a robbery. Count Two

alleges that the co-defendants were involved in a robbery. Count Three is an allegation that

defendant Jones and her co-defendants either carried and used a firearm in the commission of a

robbery or aided and abetted each other therein. Defendant denies involvement in any illegal act,

and accuses the government of taking a single act and “reformulate[ing] it 3 times to multiple

crimes with different labels in order to arrive at the announced indictment.” (#98) at 1.

            A motion to dismiss is governed by Rule 12(b)(3)(B), Federal Rules of Criminal Procedure.

That rule provides that the court may dismiss a count where the indictment “fails to invoke the

court’s jurisdiction or to state an offense.” Fed.R.Crim.P. 12(b)(3)(B). An indictment is defective




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    The Superseding Indictment (#69) has four Counts in total. The fourth Count applies only to defendant Samuels.

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              if it alleges a violation of an unconstitutional statute, or if the “allegations therein, even if true,

              would not state an offense.” United States v. Thomas, 367 F.3d 194, 197 (4th Cir. 2004). Here,

              the court finds no reason to dismiss Count Three or to dismiss either of Counts One or Two.

                      Review of Count Three reveals that the United States has alleged each element of the

              offence. Further, whether or not the government’s evidence will prove those elements is a matter

              for resolution at trial. While of little moment at this point inasmuch as the Grand Jury has found

              probable cause, the government has forecast evidence which, if proved at trial, could support a

              finding by a jury that defendant conspired with others to commit a robbery and aided in the

              commission of that robbery. In addition, the government has forecast evidence that a firearm was

              carried and used in the commission of that robbery.

                      Review of Counts One and Two reveal no multiplicity problem. Count One is that of

              conspiracy to commit a crime, and Count Two is the commission of that crime. These are separate

              criminal charges and may properly be brought as two distinct Counts.

                      The motion will be denied and defendant may renew the motion at the conclusion of the

              government’s evidence.

                                                          ORDER

                      IT IS, THEREFORE, ORDERED that defendant Jones’ pro se Motion to Dismiss Count

              Three as well as to Dismiss Count One or Count Two of the Superseding Indictment (#98) is

              DENIED without prejudice.



Signed: December 2, 2016




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